                                       EXHIBIT A
                                Burns Bowen Bair LLP
                                       10 E. Doty St., Suite 600
                                     Madison, Wisconsin 53703-3392
                                             608-286-2302
                                          www.bbblawllp.com
Official Committee of Unsecured Creditors of                              Issue Date :         8/1/2022
The Diocese of Rochester, New York
                                                                                  Bill # :       00875
                                                                            Due Date : Upon Receipt


Matter: Insurance

Fees
                                                                          Billable
Date      Staff          Description                                                    Rate   Amount
                                                                          Hours
7/1/2022 Timothy Burns Preliminary review re recent 9019 filings (.2);     0.20      $700.00   $140.00
7/1/2022 Timothy Burns Begin preparations for July mediation (.4);         0.40      $700.00   $280.00
7/1/2022 Timothy Burns Participate in call with state court counsel re     0.20      $700.00   $140.00
                       mediation strategy (.2);
7/1/2022 Jesse Bair    Review Order re 9019 briefing and discovery         0.10      $625.00     $62.50
                       schedule (.1);
7/1/2022 Jesse Bair    Review correspondence with PSZJ team re call        0.10      $625.00     $62.50
                       to discuss 9019 discovery requests recently
                       served by the insurers and Diocese (.1);
7/1/2022 Jesse Bair    Review state court counsel joinder in the           0.10      $625.00     $62.50
                       Committee's objection to the Diocese's 9019
                       motion (.1);
7/4/2022 Jesse Bair    Correspondence with B. Horn re BBB's second         0.10      $625.00     $62.50
                       interim fee application (.1);
7/4/2022 Jesse Bair    Review correspondence from B. Michael re            0.10      $625.00     $62.50
                       upcoming state court counsel meeting (.1);
7/5/2022 Brian Cawley Revise and edit T. Burns mediation strategy          0.60      $420.00   $252.00
                       PowerPoint presentation (.6);
7/5/2022 Timothy Burns Draft PowerPoint presentation re insurance          1.20      $700.00   $840.00
                       mediation strategy (1.0); emails with J. Bair
                       and B. Cawley re same (.2);
7/5/2022 Jesse Bair    Review and edit T. Burns email memorandum           0.40      $625.00   $250.00
                       re mediation strategy and related preparations
                       (.4);
7/5/2022 Jesse Bair    Review revised PowerPoint presentation re           0.20      $625.00   $125.00
                       mediation strategy and preparations (.2);
7/5/2022 Jesse Bair    Review correspondence with T. Burns and             0.10      $625.00     $62.50
                       PSZJ re strategy for upcoming mediation
                       sessions (.1);
7/6/2022 Timothy Burns Met with J. Bair re preparation for state court     0.20      $700.00   $140.00
                       counsel meeting (.2);
7/6/2022 Timothy Burns Participate in state court counsel meeting (.7);    0.70      $700.00   $490.00
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7/6/2022 Jesse Bair     Participate in conference with T. Burns re         0.20   $625.00   $125.00
                        preparations for state court counsel meeting
                        (.2);
7/6/2022 Jesse Bair     Participate in state court counsel meeting re      0.70   $625.00   $437.50
                        mediation strategy (.7);
7/6/2022 Jesse Bair     Review correspondence from I. Scharf to state      0.10   $625.00    $62.50
                        court counsel re mediation and case update
                        (.1);
7/6/2022 Jesse Bair     Review additional correspondence with I.           0.10   $625.00    $62.50
                        Scharf and I. Nasatir re 9019 and mediation
                        strategy (.1);
7/7/2022 Brian Cawley Conference with K. Gurewitz re recently              0.90   $420.00   $378.00
                        assigned insurance research projects (.2);
                        begin drafting summary re lack of consent to
                        settle provisions in the LMI and Interstate
                        policies (.7);
7/7/2022 Jesse Bair     Review draft order appointing supplemental         0.10   $625.00    $62.50
                        mediator (.1);
7/7/2022 Jesse Bair     Correspondence with I. Scharf re the insurers'     0.10   $625.00    $62.50
                        proposed edits to the draft order appointing
                        supplemental mediator (.1);
7/7/2022 Jesse Bair     Participate in conference with T. Burns re         0.10   $625.00    $62.50
                        mediation appointment issues (.1);
7/7/2022 Jesse Bair     Analyze memo re New York exhaustion law (.1);      0.30   $625.00   $187.50
                        provide instructions to B. Cawley and K.
                        Gurewitz re supplemental exhaustion research
                        needed in advance of upcoming mediation
                        sessions (.2);
7/7/2022 Jesse Bair     Provide instructions to B. Cawley re               0.10   $625.00    $62.50
                        supplemental analysis of LMI and Interstate
                        policies re lack of consent to settle provisions
                        (.1);
7/7/2022 Jesse Bair     Analyze Interstate policy declaration re           0.10   $625.00    $62.50
                        attachment point language (.1);
7/7/2022 Timothy Burns Participate in conference with J. Bair re           0.20   $700.00   $140.00
                        mediation appointment issues (.1); review
                        correspondence with I. Scharf re supplemental
                        mediator appointment (.1);
7/7/2022 Kacy Gurewitz Conference with B. Cawley re recently               3.90   $420.00 $1,638.00
                        assigned insurance research projects (.2);
                        begin research re exhaustion under New York
                        law in connection with potential settlement and
                        mediation strategies (3.7);
7/8/2022 Kacy Gurewitz Continue research re exhaustion under New           0.20   $420.00    $84.00
                        York law in connection with potential settlement
                        and mediation strategies (.2);
7/11/2022 Timothy Burns Continue preparing for upcoming mediation          0.30   $700.00   $210.00
                        (.3);
7/11/2022 Kacy Gurewitz Continue detailed research re exhaustion under     5.50   $420.00 $2,310.00
                        New York law in connection with potential
                        settlement and mediation strategies (5.5);
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7/11/2022 Jesse Bair    Review I. Scharf correspondence to state court       0.10   $625.00    $62.50
                        counsel re mediation update (.1);
7/11/2022 Jesse Bair    Review and edit BBB's second interim fee             0.90   $625.00   $562.50
                        application (.9);
7/12/2022 Brian Cawley Complete summary of LMI/Interstate policies           2.00   $420.00   $840.00
                        and lack of consent to settle provisions (1.8);
                        participate in conference with J. Bair re same
                        (.2);
7/12/2022 Kacy Gurewitz Complete research re exhaustion under New            5.00   $420.00 $2,100.00
                        York law in connection with potential settlement
                        and mediation strategies (3.6); begin drafting
                        presentation re same for potential use in
                        mediation (1.4);
7/12/2022 Brian Cawley Conference with K. Gurewitz re insurance              0.40   $420.00   $168.00
                        exhaustion analysis (.4);
7/12/2022 Jesse Bair    Review Interstate's 9019 discovery requests on       0.20   $625.00   $125.00
                        the Committee and Diocese (.2);
7/12/2022 Jesse Bair    Review LMI's 9019 discovery requests on the          0.20   $625.00   $125.00
                        Committee and Diocese (.2);
7/12/2022 Jesse Bair    Review CNA's 9019 third-party subpoenas (.1);        0.10   $625.00    $62.50
7/12/2022 Jesse Bair    Correspondence with Blank Rome re                    0.10   $625.00    $62.50
                        upcoming mediation (.1);
7/12/2022 Jesse Bair    Review and respond to K. Gurewitz question re        0.30   $625.00   $187.50
                        New York exhaustion law (.3);
7/12/2022 Jesse Bair    Supplemental research re New York insurance          0.60   $625.00   $375.00
                        law re exhaustion in connection with potential
                        settlement strategies (.6);
7/13/2022 Jesse Bair    Prepare for state court counsel meeting re           0.20   $625.00   $125.00
                        mediation strategy (.2);
7/13/2022 Jesse Bair    Participate in state court counsel meeting re        1.00   $625.00   $625.00
                        mediation strategy (1.0);
7/13/2022 Jesse Bair    Review revised claim valuation chart circulated      0.20   $625.00   $125.00
                        by I. Scharf (.2);
7/13/2022 Kacy Gurewitz Continue drafting presentation re insurance          1.60   $420.00   $672.00
                        exhaustion for potential use at upcoming
                        mediation (1.6);
7/13/2022 Timothy Burns Prepare for state court counsel meeting (.4);        1.40   $700.00   $980.00
                        participate in state court counsel meeting re
                        mediation strategy (1.0);
7/14/2022 Kacy Gurewitz Continue drafting presentation re insurance          4.00   $420.00 $1,680.00
                        exhaustion for potential use at upcoming
                        mediation (4.0);
7/14/2022 Timothy Burns Met with J. Bair re recent state court counsel       0.20   $700.00   $140.00
                        meeting (.1); review emails with Blank Rome re
                        upcoming mediation (.1);
7/14/2022 Brian Cawley Discuss draft presentation and applicable             0.20   $420.00    $84.00
                        insurance research with K. Gurewitz (.2);
7/14/2022 Timothy Burns Prepare for call with J. Carter re upcoming          0.80   $700.00   $560.00
                        mediation (.5); participate in call with J. Carter
                        re upcoming mediation (.3);
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7/14/2022 Kacy Gurewitz Finish drafting presentation re insurance            2.70   $420.00 $1,134.00
                        exhaustion for potential use at upcoming
                        mediation (2.7);
7/14/2022 Jesse Bair    Prepare for call with J. Carter re upcoming          0.20   $625.00   $125.00
                        mediation (.2);
7/14/2022 Jesse Bair    Participate in call with J. Carter and T. Burns re   0.30   $625.00   $187.50
                        upcoming mediation (.3);
7/14/2022 Jesse Bair    Correspondence with J. Carter and J. Murray          0.10   $625.00    $62.50
                        re upcoming mediation (.1);
7/14/2022 Jesse Bair    Conference with T. Burns re recent state court       0.10   $625.00    $62.50
                        counsel meeting (.1);
7/15/2022 Kacy Gurewitz Analyze comments received from J. Bair re            0.50   $420.00   $210.00
                        insurance exhaustion presentation (.2); review
                        policy and case law research re same (.3);
7/15/2022 Jesse Bair    Review draft PowerPoint presention re                0.30   $625.00   $187.50
                        exhaustion and SIR issues (.3);
7/15/2022 Jesse Bair    Review I. Scharf correspondence re mediation         0.10   $625.00    $62.50
                        updates (.1);
7/15/2022 Jesse Bair    Supplemental legal research re exhaustion and        0.30   $625.00   $187.50
                        SIR issues in connection with potential
                        mediation and settlement strategies (.3);
7/15/2022 Jesse Bair    Further analysis re the Underwriters policies in     0.30   $625.00   $187.50
                        preparation of upcoming mediation (.3);
7/15/2022 Jesse Bair    Draft memorandum for T. Burns re insurer             1.30   $625.00   $812.50
                        mediation demands (1.3);
7/16/2022 Timothy Burns Detailed analysis and email to J. Bair re            0.80   $700.00   $560.00
                        potential counters for mediation (.8);
7/17/2022 Jesse Bair    Additional analysis re potential stipulated          0.20   $625.00   $125.00
                        judgment chart (.2);
7/17/2022 Jesse Bair    Correspondence with T. Burns re potential            0.20   $625.00   $125.00
                        counter-offers to the insurers and Diocese (.2);
7/18/2022 Timothy Burns Conference with J. Bair and emails re                2.70   $700.00 $1,890.00
                        preparations for state court counsel meeting re
                        mediation (.2); detailed analysis of case
                        materials to formulate potential insurance
                        counter-offers (.8); participate in additional
                        conference with J. Bair re same (.2); call with I.
                        Scharf re same (.3); call with state court
                        counsel re same (.3); participate in state court
                        counsel meeting re mediation strategy (.9);
7/18/2022 Jesse Bair    Participate in conference with T. Burns re           0.20   $625.00   $125.00
                        strategy re counter-offers to the insurers (.2);
7/18/2022 Jesse Bair    Review correspondence from I. Scharf re prior        0.20   $625.00   $125.00
                        settlement offers to the carriers (.2);
7/18/2022 Jesse Bair    Participate in telephone conference with I.          0.30   $625.00   $187.50
                        Scharf and T. Burns re potential settlement
                        counter-offers to the insurers (.3);




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7/18/2022 Jesse Bair    Participate in telephone conference with           0.30   $625.00   $187.50
                        particular state court counsel and T. Burns re
                        potential insurer counter-offers and overall
                        mediation strategy (.3);
7/18/2022 Jesse Bair    Participate in state court counsel meeting re      0.90   $625.00   $562.50
                        mediation strategy and insurer counter-offers
                        (.9);
7/18/2022 Jesse Bair    Review correspondence from I. Scharf to            0.10   $625.00    $62.50
                        Committee re upcoming Committee meeting
                        (.1);
7/18/2022 Jesse Bair    Additional conference with T. Burns re             0.20   $625.00   $125.00
                        mediation strategy and potential insurer
                        counter-offers (.2);
7/18/2022 Jesse Bair    Additional analysis of case materials to assess    0.20   $625.00   $125.00
                        potential insurer counter-offers (.2);
7/19/2022 Timothy Burns Conference with J. Bair re insurer counter-        0.20   $700.00   $140.00
                        offers and overall mediation strategy (.2);
7/19/2022 Timothy Burns Review and revise draft email from I. Scharf to    0.40   $700.00   $280.00
                        Debtor's counsel re mediation counter (.4);
7/19/2022 Timothy Burns Conference with particular state court counsel     0.20   $700.00   $140.00
                        re mediation strategy (.2);
7/19/2022 Timothy Burns Conference with additional state court counsel     0.40   $700.00   $280.00
                        re mediation strategy (.4);
7/19/2022 Jesse Bair    Participate in conference with T. Burns re         0.20   $625.00   $125.00
                        insurer counter-offers and overall mediation
                        strategy (.2);
7/19/2022 Jesse Bair    Review correspondence with state court             0.20   $625.00   $125.00
                        counsel re stipulated judgment issues (.2);
7/20/2022 Jesse Bair    Review correspondence from state court             0.20   $625.00   $125.00
                        counsel re status of the state court lawsuits
                        against the parishes and other catholic entities
                        (.1); review case management order re same
                        (.1);
7/20/2022 Jesse Bair    Review correspondence with T. Burns and I.         0.10   $625.00    $62.50
                        Scharf re mediation counter-offer to the
                        Diocese (.1);
7/20/2022 Jesse Bair    Review agenda for upcoming Committee               0.10   $625.00    $62.50
                        meeting (.1);
7/20/2022 Jesse Bair    Participate in Committee meeting re mediation      1.10   $625.00   $687.50
                        strategy (1.1);
7/20/2022 Jesse Bair    Participate in conference with T. Burns re draft   0.20   $625.00   $125.00
                        mediation counter-offer communication to the
                        Diocese (.2);
7/20/2022 Jesse Bair    Additional analysis re claim and insurance         0.20   $625.00   $125.00
                        information in connection with upcoming
                        mediation sessions (.2);




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7/20/2022 Timothy Burns Conference with J. Bair re edits to mediation       2.10   $700.00 $1,470.00
                        counter-offer communication (.2); additional
                        analysis re issues in connection with potential
                        mediation counter-offer (.4); participate in call
                        with I. Scharf re same (.4); participate in
                        Committee meeting re mediation strategy
                        (.1.1);
7/21/2022 Jesse Bair    Review I. Scharf correspondence with mediator       0.10   $625.00    $62.50
                        re Committee counter to the insurers (.1);
7/22/2022 Timothy Burns Review and revise additional communication to       2.00   $700.00 $1,400.00
                        the Diocese re mediation counter (.1); call with
                        I. Scharf re same (.1); met with J. Bair re same
                        (.1); prepare for call with the mediators (.4);
                        participate in call with the mediators, PSZJ,
                        and state court counsel re upcoming mediation
                        (1.3);
7/22/2022 Timothy Burns Brief review of Diocese's claims objections         0.20   $700.00   $140.00
                        filings (.2);
7/22/2022 Leakhena Au Conference with K. Gurewitz re stipulated             0.20   $420.00    $84.00
                        judgment research issue (.2);
7/22/2022 Jesse Bair    Participate in call with the mediators, PSZJ,       1.30   $625.00   $812.50
                        and state court counsel re upcoming mediation
                        sessions (1.3);
7/22/2022 Jesse Bair    Participate in post-call with state court counsel   0.10   $625.00    $62.50
                        re outcome of mediator call (.1);
7/22/2022 Jesse Bair    Review draft correspondence to the Diocese re       0.10   $625.00    $62.50
                        mediation demand (.1);
7/22/2022 Jesse Bair    Provide instructions to K. Gurewitz re              0.20   $625.00   $125.00
                        supplemental research project re stipulated
                        judgment question (.2);
7/22/2022 Jesse Bair    Preliminary review re the Diocese's claim           0.20   $625.00   $125.00
                        objections (.2);
7/23/2022 Kacy Gurewitz Correspond with J. Bair re supplemental             0.30   $420.00   $126.00
                        research project re stipulated judgment
                        question (.3);
7/24/2022 Kacy Gurewitz Begin research under New York law re                1.80   $420.00   $756.00
                        stipulated judgment issue (1.8);
7/25/2022 Kacy Gurewitz Continue research under New York law re             0.40   $420.00   $168.00
                        stipulated judgment issue (.4);
7/25/2022 Jesse Bair    Analyze case insurance materials in                 0.40   $625.00   $250.00
                        preparation for upcoming mediation (.4);
7/25/2022 Jesse Bair    Draft updated insurance summary for use in          0.20   $625.00   $125.00
                        upcoming mediation (.2);
7/26/2022 Jesse Bair    Travel from Madison to Rochester for                4.10   $312.50 $1,281.25
                        mediation [billed at 1/2 travel rate] (4.1);
7/26/2022 Jesse Bair    Review email memorandum from K. Gurewitz            0.10   $312.50    $31.25
                        re supplemental stipulated judgment research
                        results (.1);
7/26/2022 Kacy Gurewitz Finish research re New York law re stipulated       3.80   $420.00 $1,596.00
                        judgment issue (2.6); draft email memorandum
                        summarizing research results (1.2);
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7/26/2022 Brian Cawley Discuss stipulated judgment research issue           0.30 $420.00  $126.00
                        with K. Gurewitz (.3);
7/26/2022 Timothy Burns Travel from Madison to Rochester for                7.80 $350.00 $2,730.00
                        mediation [billed at 1/2 travel rate; flight
                        experienced delays] (7.8);
7/27/2022 Timothy Burns Prepare for mediation (1.0); participate in day    10.00 $700.00 $7,000.00
                        1 of mediation (8.0); analysis re outcome of
                        day 1 and preparations for day 2 (1.0);
7/27/2022 Jesse Bair    Prepare for day 1 of mediation (1.0);               1.00 $625.00  $625.00
7/27/2022 Jesse Bair    Participate in day 1 of mediation (8.0);            8.00 $625.00 $5,000.00
7/27/2022 Jesse Bair    Analysis re outcome of day 1 of mediation and       1.00 $625.00  $625.00
                        prepare for day 2 (1.0);
7/28/2022 Kacy Gurewitz Analysis of CNA coverage denials in                 0.50 $420.00  $210.00
                        connection with potential stipulated judgments
                        against CNA (.5);
7/28/2022 Brian Cawley Analysis of CNA coverage denials in                  1.30 $420.00  $546.00
                        connection with potential stipulated judgments
                        against CNA (1.3);
7/28/2022 Timothy Burns Continue preparing for day 2 of mediation           7.30 $700.00 $5,110.00
                        (1.0); participate in day 2 of mediation (6.3);
7/28/2022 Timothy Burns Return travel from Rochester to Chicago [billed 8.00 $350.00 $2,800.00
                        at 1/2 ravel rate; flight severely delayed] (8.0);
7/28/2022 Jesse Bair    Return travel to Madison from Rochester [billed 5.50 $312.50 $1,718.75
                        at 1/2 travel rate] (5.5);
7/28/2022 Jesse Bair    Continue preparing for day 2 of mediation (.5);     0.50 $625.00  $312.50
7/28/2022 Jesse Bair    Participate in portion of day 2 of mediation        5.80 $625.00 $3,625.00
                        (5.8);
7/29/2022 Jesse Bair    Review correspondence from the mediators re         0.10 $625.00    $62.50
                        follow-up mediation sessions (.1);
7/29/2022 Jesse Bair    Review correspondence from state court              0.10 $625.00    $62.50
                        counsel re mediation session outcome and
                        potential next-steps (.1);
7/29/2022 Jesse Bair    Participate in conference with T. Burns re          0.50 $625.00  $312.50
                        mediation session outcome and potential next-
                        steps re insurance negotiations (.5);
7/29/2022 Timothy Burns Additional return travel from mediation to          1.90 $350.00  $665.00
                        Madison from Chicago [billed at 1/2 travel rate]
                        (1.9);
7/29/2022 Timothy Burns Participate in call with J. Bair re mediation       0.90 $700.00  $630.00
                        session outcome and potential next-steps re
                        insurance negotiations (.5); reviewed emails
                        from state court counsel re mediation outcome
                        and next-steps (.2); additional analysis re
                        insurance settlement options (.2);
7/31/2022 Timothy Burns Review email from mediator re August                0.50 $700.00  $350.00
                        meetings and follow-up mediation sessions
                        (.1); review research memo re coverage issues
                        surrounding complaints and proofs of claim
                        (.4);

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7/31/2022 Jesse Bair   Review additional correspondence from                0.10    $625.00       $62.50
                       mediator re follow-up mediation sessions (.1);
Fees Subtotal                                                              131.80             $69,588.25

Expenses
Date                   Description                                                              Amount
7/1/2022               Second Quarter 2022 PACER (Public Access                                  $62.90
                       to Court Electronic Records)
7/26/2022              Meal with T. Burns, L. James and B. Espeland                               $90.52
                       re mediation
7/26/2022              Meal for J. Bair re mediation                                               $3.68
7/26/2022              Cab from airport to hotel for J. Bair re                                   $27.50
                       mediation
7/26/2022              Uber from hotel to dinner for J. Bair and T.                               $13.50
                       Burns re mediation
7/26/2022              Uber from dinner to hotel for J. Bair and T.                               $11.40
                       Burns re mediation
7/26/2022              United Airlines re mediation for T. Burns                                $647.20
7/26/2022              Delta Airlines re mediation for J. Bair                                  $897.20
7/27/2022              Meal for J. Bair re mediation                                             $15.66
7/27/2022              Uber from hotel to mediation for J. Bair and T.                           $38.35
                       Burns re mediation
7/27/2022              Uber from mediation to hotel for J. Bair and T.                            $44.60
                       Burns re mediation
7/28/2022              Meal for J. Bair re mediation                                              $14.53
7/28/2022              Uber from hotel to mediation for J. Bair and T.                            $38.24
                       Burns re mediation
7/28/2022              Meal for J. Bair re mediation                                              $19.19
7/28/2022              Uber from mediation to airport for J. Bair and T.                          $71.22
                       Burns
7/28/2022              Airport parking for J. Bair                                               $30.00
7/28/2022              Hyatt Regency Hotel for J. Bair re mediation                             $396.72
                       (7/26 - 7/28)
7/28/2022              Meal for T. Burns re mediation                                            $53.13
7/28/2022              Cab from airport to hotel (Chicago) for T. Burns                          $63.70
7/28/2022              Hyatt Regency Hotel for T. Burns (7/26 - 7/28)                           $783.74
                       re mediation
Expenses Subtotal                                                                              $3,322.98

Staff Summary
Name                                       Hours                   Rate                         Amount
Brian Cawley                                 5.70               $420.00                        $2,394.00
Jesse Bair                                   9.70               $312.50                        $3,031.25
Jesse Bair                                  34.80               $625.00                       $21,750.00
Kacy Gurewitz                               30.20               $420.00                       $12,684.00
Leakhena Au                                  0.20               $420.00                          $84.00
Timothy Burns                               17.70               $350.00                        $6,195.00
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Name                                Hours              Rate                  Amount
Timothy Burns                        33.50          $700.00                $23,450.00

                                                    Total Due This Invoice: $72,911.23




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